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IN 'I`HE UNITED STA'I'ES DISTRICT COUR'I'
FOR THE WESTERN DISTRIC'I' OF TENNESSEE
WES'I`ERN DIVISION

 

UNITED STATES OF AMERICA

Plaintiff,
v. Criminal No. Q.S-- ROROR-Ml
RDSCO¢-D;KOK./ (60-Day Continuance)

 

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Defendant(s

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the July
2005, criminal rotation calendar, but is now RESET for report at
8:45 a.m. on Tuesdav. August 23, 2005, with trial to take place
on the September, 2005, rotation calendar with the time excluded
under the Speedy Trial Act through September 16, 2005. Agreed in

open court at report date this 22nd day of June, 2005.

This doc\,ment entered on the docket sheet in compliance
with Fiu|e 55 and;'or 321bl FRCrP on ’

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SO ORDERED this 22m'day Of June, 2005.

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ON PHIPPS MCCALLA
UNI ED STATES DISTRICT JUDGE

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Assistant United States Attorney

 

 

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(:;;;;sei’?or Defendant(s)

 

 

   

UNITED sTATE DRISTIC COUR - W'"RNTE D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case 2:05-CR-20202 Was distributed by faX, mail, or direct printing on
June 23, 2005 to the parties listed.

 

 

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Honorable .1 on McCalla
US DISTRICT COURT

